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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

UNITED STATES OF AMERICA           )
                                   )        CRIMINAL ACTION NO.
    v.                             )         2:12cr48-MHT
                                   )              (WO)
MICHAEL SMITH                      )

                                ORDER

    In light of the opinion and order issued this day

(doc. no.     300), it is ORDERED that defendant Michael

Smith’s motion to sever counts (doc. no. 111) is denied.

    DONE, this the 6th day of June, 2013.

                                       /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
